                                                           (SPACE BELOW FOR FILING STAMP ONLY)
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 1        ROGER T. NUTTALL #42500
           NUTTALL & COLEMAN
 2               2333 MERCED STREET
                  FRESNO, CA 93721
 3               PHONE (559) 233-2900
                  FAX (559) 485-3852
 4
 5     ATTORNEYS FORDefendant,
                 EDDY A. GEORGE
 6
 7
 8                            UNITED STATES DISTRICT COURT
 9                           EASTERN DISTRICT OF CALIFORNIA
10                                       * * * * * * * *
11   UNITED STATES OF AMERICA,                   Case No.: CR-F-03-5453 OWW
12               Plaintiff,
13         vs.                                   STIPULATION TO CONTINUE FILING
                                                   OF MOTION FOR NEW TRIAL AND
14   EDDY A. GEORGE,                                        SENTENCING
                                                               and
15               Defendant.
                                                              O R D E R
16
                                                   NOTICE TO COUNSEL: THE HEARING
17
                                                   DATE HAS BEEN CHANGED AS COURT
18
                                                   WILL NOT BE IN SESSION
19
                                                   DEC. 19 THROUGH DEC. 30
20
          IT IS HEREBY STIPULATED by and between attorneys for the
21
     respective parties herein that the dates for the filing of
22
     Motions for New Trial and the Sentencing be continued as follows:
23
                                         Current Date               Continued Date
24
     Filing of Motion for               October 4, 2005           November 15, 2005
25   New Trial
26
     Government Response                October 25, 2005          December 6, 2005
27
28
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 1
     SENTENCING and MOTION      October 31, 2005           January 9, 2006
 2      FOR NEW TRIAL                                         1:30 p.m.
 3
 4        Counsel for all parties request this continuance due to the
 5   fact that the requested Trial Transcript was just received by
 6   counsel for Defendant GEORGE on or about September 16, 2005.
 7   Also, due to the fact that counsel has just finished an extensive
 8   trial in the Fresno County Superior Court, he has not had the
 9   opportunity to review the trial transcript in order to prepare
10   his Motion for a New Trial.
11        Counsel for Defendant GEORGE has spoken with other counsel
12   in this matter relative to the length of time which is needed to
13   review and prepare the motions.       They have all agreed that an
14   additional month within which to review the Trial Transcript and
15   prepare their motions for New Trial would be sufficient.
16        Counsel for Defendant GEORGE has spoken with Assistant U. S.
17   Attorney, KAREN ESCOBAR, as well as with all other defendant
18   attorneys, who are agreeable to this continuance.
19        DATED:      September 27, 2005.
20                                     Respectfully submitted,
21                                     NUTTALL & COLEMAN
22
                                           /s/ Roger T. Nuttall
23                                     By: ___________________________
                                                ROGER T. NUTTALL
24                                          Attorneys for Defendant
                                               EDDY A. GEORGE
25
          DATED: September 27, 2005.
26
27
                                             /s/ Nicholas F. Reyes
28                                        ___________________________

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 1                                          NICHOLAS F. REYES
                                          Attorney for Defendant
 2                                          RITO S. ZAZUETA
 3
 4
 5
 6
         DATED:    September 27, 2005.
 7
 8
                                            /s/ Timothy B. Rote
 9                                       _________________________
                                            TIMOTHY B. ROTE
10                                        Attorney for Defendant
                                            MICHAEL NOBARI
11
12       DATED:    September 27, 2005.
13
                                             /s/ Ed Hunt
14
                                        _____________________________
15                                          ED HUNT
                                        Attorney for Defendant
16                                          EDISON SHINO
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 1                                O R D E R
 2
 3       Good Cause Appearing,
 4
 5       IT IS SO ORDERED.
 6
 7
 8       DATED:        September _28___, 2005.
 9
10
11                               /s/ OLIVER W. WANGER
                                 _________________________
12
                                     OLIVER W. WANGER
13                               Judge, U. S. District Court
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